                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,                   )     CASE NO. – 2:21-cr-22
                                             )
     vs.                                     )
                                             )
 GREGORY McMICHAEL,                          )
                                             )
     Defendant.                              )
                                             )


              JOINT NOTICE OF WITHDRAWAL OF PLEA AGREEMENT

       COMES NOW Defendant Gregory McMichael, by and through his counsel of record,

A. J. Balbo, and the United States of America, by and through Tara M. Lyons, Assistant United

States Attorney for the Southern District of Georgia, who notify the Court that the previously

submitted Rule 11(c)(1)(C) plea agreement pertaining to Defendant Gregory McMichael, and

subsequently rejected by the Court on January 31, 2022, is hereby withdrawn by counsel for both

sides. The prior plea agreement is null and void. Counsel respectfully announce ready for trial on

February 7, 2022.

       Respectfully submitted this 3rd day of February, 2022.

KRISTEN M. CLARKE                                        DAVID H. ESTES
Assistant Attorney General                               United States Attorney

s/Christopher J. Perras                                  s/Tara M. Lyons
Christopher J. Perras                                    Tara M. Lyons
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s/Barbara (Bobbi) Bernstein                   /s A. J. Balbo
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                                   CERTIFICATE OF SERVICE

         This is to certify that I have on this day served all the parties in this case in accordance with

the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in this

Court.

         Respectfully submitted, this 3rd day of February, 2022.

                                                         Respectfully submitted,

                                                         BALBO & GREGG
                                                         ATTORNEYS AT LAW, P.C.


                                                          /s A. J. Balbo
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